       Case 2:16-cr-00034-WFN             ECF No. 225        filed 11/08/19       PageID.844 Page 1 of 2
 PROB 12C                                                                              Report Date: October 24, 2019
(6/16)
                                                                                                        FILED IN THE
                                        United States District Court                                U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON


                                                        for the
                                                                                               Nov 08, 2019
                                                                                                   SEAN F. MCAVOY, CLERK
                                         Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Shaunte Lamar Rowe                        Case Number: 0980 2:16CR00034-WFN-2
 Address of Offender:                    , Spokane, Washington 99202
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: June 20, 2018
 Original Offense:        Conspiracy to Possess with Intent to Distribute 50 Grams or More of Pure (Actual)
                          Methamphetamine, 21 U.S.C. § 841(a)(1), (b)(1)(A)(viii)
 Original Sentence:       Prison - 56 days                   Type of Supervision: Supervised Release
                          TSR - 60 days
 Asst. U.S. Attorney:     Caitlin A. Baunsgard               Date Supervision Commenced: June 20, 2018
 Defense Attorney:        Federal Defender’s Office          Date Supervision Expires: June 19, 2023

                                          PETITIONING THE COURT

To issue a summons.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 2: You shall abstain from the use of illegal controlled substances and
                        shall submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 test per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: Mr. Rowe was in direct violation of special condition number 2 by
                        testing positive for cocaine on September 26, 2019.

                        On June 25, 2018, Mr. Rowe was given a copy of his judgment and his conditions of
                        supervision were explained to him. He signed his judgment and informed this officer that
                        he understood his conditions.

                        On September 26, 2019, Mr. Rowe reported to the U.S. Probation Office and submitted a
                        urine sample for testing, which tested positive for cocaine. He originally reported no drug
                        use, but eventually disclosed he had used cocaine on September 24, 2019. Mr. Rowe signed
                        a drug use admission form reflecting his use.
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